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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                         PLAINTIFF

v.                               No. 4:05CR00330-01 JLH

BRIAN MONQUEZ MCMILLER                                                         DEFENDANT

                                         ORDER

      Pending before the Court is defendant Brian Monquez McMiller’s motion to continue the

revocation hearing currently set for Tuesday, January 28, 2014. The motion is GRANTED.

Document #89.

      The supervised release revocation hearing for defendant Brian Monquez McMiller is hereby

rescheduled for WEDNESDAY, FEBRUARY 5, 2014, at 9:30 A.M., in Courtroom #4-D, Richard

Sheppard Arnold United States Courthouse, 500 West Capitol Avenue, Little Rock, Arkansas.

Document #80.

      IT IS SO ORDERED this 28th day of January, 2014.



                                                 __________________________________
                                                 J. LEON HOLMES
                                                 UNITED STATES DISTRICT JUDGE
